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  Fill in this information to identify your case:

  Debtor 1              Marie                    Seroni                  McConnell
                        First Name               Middle Name             Last Name
                                                                                                                      Check if this is an amended plan, and
  Debtor 2                                                                                                            list below the sections of the plan that
  (Spouse, if filing)   First Name               Middle Name             Last Name                                    have been changed. Amendments to
                                                                                                                      sections not listed below will be
United States Bankruptcy Court for the Northern District of Georgia                                                   ineffective even if set out later in this
                                                                                                                      amended plan.
  Case number
  (if known)




Chapter 13 Plan
NOTE:                           The United States Bankruptcy Court for the Northern District of Georgia adopted this form plan for use
                                in Chapter 13 cases in the District pursuant to Federal Rule of Bankruptcy Procedure 3015.1. See
                                Order Requiring Local Form for Chapter 13 Plans and Establishing Related Procedures, General Order
                                No. 41-2020, available in the Clerk’s Office and on the Bankruptcy Court’s website, ganb.uscourts.gov.
                                As used in this plan, “Chapter 13 General Order” means General Order No. 41-2020 as it may from time
                                to time be amended or superseded.

  Part 1:                  Notices

To Debtor(s):                   This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not indicate that the
                                option is appropriate in your circumstances. Plans that do not comply with the United States Bankruptcy Code, local rules and judicial
                                rulings may not be confirmable.

                                In the following notice to creditors, you must check each box that applies.

To Creditors:                   Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

                                You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not
                                have an attorney, you may wish to consult one.

                                If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection to
                                confirmation at least 7 days before the date set for the hearing on confirmation, unless the Bankruptcy Court orders
                                otherwise. The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is filed. See
                                Bankruptcy Rule 3015.

                                To receive payments under this plan, you must have an allowed claim. If you file a proof of claim, your claim is deemed allowed
                                unless a party in interest objects. See 11 U.S.C. § 502(a).

                                The amounts listed for claims in this plan are estimates by the debtor(s). An allowed proof of claim will be
                                controlling, unless the Bankruptcy Court orders otherwise.

                                The following matters may be of particular importance. Debtor(s) must check one box on each line to state whether or
                                not the plan includes each of the following items. If an item is checked as “Not included,” if both boxes are
                                checked, or if no box is checked, the provision will be ineffective even if set out later in the plan, except 1.4.


                                          A limit on the amount of a secured claim, that may result in a partial
                                 § 1.1                                                                                          Included             ■ Not Included
                                          payment or no payment at all to the secured creditor, set out in § 3.2
                                          Avoidance of a judicial lien or nonpossessory, nonpurchase-money
                                 § 1.2                                                                                          Included             ■ Not Included
                                          security interest, set out in § 3.4

                                 § 1.3    Nonstandard provisions, set out in Part 8                                             Included             ■ Not Included

                                          The plan provides for the payment of a domestic support obligation (as
                                 § 1.4                                                                                          Included             ■ Not Incuded
                                          defined in 11 U.S.C. § 101(14A)), set out in § 4.4.




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  Part 2:        Plan Payments and Length of Plan; Disbursement of Funds by Trustee to Holders of Allowed Claims

§ 2.1   Regular Payments to the trustee; applicable commitment period.
        The applicable commitment period for the debtor(s) as set forth in 11 U.S.C. § 1325(b)(4) is:
        Check one:      ■   36 months              60 months
        Debtor(s) will make regular payments (“Regular Payments”) to the trustee as follows:

        The debtor(s) will pay           $120.00 per        month      for the applicable commitment period. If the applicable commitment period is 36
        months, additional Regular Payments will be made to the extent necessary to make the payments to creditors specified in this plan, not to exceed
        60 months unless the Bankruptcy Court orders otherwise. If all allowed claims treated in § 5.1 of this plan are paid in full prior to the expiration of
        the applicable commitment period, no further Regular Payments will be made.

        Check if applicable.
             The amount of the Regular Payment will change as follows (If this box is not checked, the rest of § 2.1 need not be completed or
             reproduced. Insert additional lines as needed for more changes.):

        Beginning on               The Regular Payment                   For the following reason (insert reason for change):
        (insert date):             amount will change to
                                   (insert amount):

                                                    per     week


§ 2.2   Regular Payments; method of payment.
        Regular Payments to the trustee will be made from future income in the following manner:
        Check all that apply.
             Debtor(s) will make payments pursuant to a payroll deduction order. If a deduction does not occur, the debtor(s) will pay to the trustee the
             amount that should have been deducted.

        ■    Debtor(s) will make payments directly to the trustee.

             Other (specify method of payment):

§ 2.3   Income tax refunds.
        Check one.
        ■    Debtor(s) will retain any income tax refunds received during the pendency of the case.
             Debtor(s) will (1) supply the trustee with a copy of each federal income tax return filed during the pendency of the case within 30 days of
             filing the return and (2) turn over to the trustee, within 30 days of the receipt of any federal income tax refund during the applicable
             commitment period for tax years                                             , the amount by which the total of all of the federal income tax refunds
             received for each year exceeds $2,000 (“Tax Refunds”), unless the Bankruptcy Court orders otherwise. If debtor’s spouse is not a
             debtor in this case, “tax refunds received” means those attributable to the debtor.

             Debtor(s) will treat tax refunds (“Tax Refunds”) as follows:




§ 2.4   Additional Payments.
        Check one.
        ■    None. If “None” is checked, the rest of § 2.4 need not be completed or reproduced.

§ 2.5   [Intentionally omitted.]


§ 2.6   Disbursement of funds by trustee to holders of allowed claims.

        The trustee shall disburse funds in accordance with General Order No. 41-2020. (www.ganb.uscourts.gov/local-rules-and-orders)




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  Part 3:        Treatment of Secured Claims

§ 3.1   Maintenance of payments and cure of default, if any.
        Check one.
             None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.
        ■    Beginning with the first payment that is due after the date of the order for relief under Chapter 13, the debtor(s) will maintain the current
             contractual installment payments on the secured claims listed below, with any changes required by the applicable contract and noticed in
             conformity with any applicable rules. These payments will be disbursed directly by the debtor(s). Any existing arrearage on a listed claim will
             be paid in full through disbursements by the trustee, with interest, if any, at the rate stated below.
             If relief from the automatic stay is ordered as to any item of collateral listed in this paragraph, then, unless the Bankruptcy Court orders
             otherwise, all payments under this paragraph as to that collateral will cease, and all secured claims based on that collateral will no longer be
             treated by the plan.

             Name of creditor                                       Collateral                  Estimated amount of        Interest rate on    Monthly plan
                                                                                                arrearage (if any)         arrearage           payment on
                                                                                                                           (if applicable)     arrearage

             Carrington Mortgage                                      307 Stewart Dr SW,                  $0.00                           0%                  $0.00
                                                                         Calhoun, GA
             BB&T / Truist                                            307 Stewart Dr SW,                  $0.00                           0%                  $0.00
                                                                         Calhoun, GA


§ 3.2   Request for valuation of security and modification of certain undersecured claims.

        ■    None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.

§ 3.3   Secured claims to be paid in full.

        Check one.
        ■    None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.
§ 3.4   Lien avoidance.
        Check one.
        ■    None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.

§ 3.5   Surrender of collateral.
        Check one.
        ■    None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.

§ 3.6   Other Allowed Secured Claims.

       A proof of claim that is filed and allowed as a secured claim, but is not treated as a secured claim in this plan, shall be paid with interest at the rate
            5.5
        of ______%.    Payments will commence as set forth in § 2.6. Notwithstanding the foregoing, the debtor(s), and any other party in interest, may:
        object to allowance of the claim; request that the Bankruptcy Court determine the value of the secured claim if modification of the claim is
        permissible and if 11 U.S.C. § 506 is applicable; or request that the Bankruptcy Court avoid the creditor's lien pursuant to 11 U.S.C. § 522(f), if
        applicable.
        If the Bankruptcy Court determines the value of the secured claim, the portion of any allowed claim that exceeds the amount of the secured claim
        will be treated as an unsecured claim under Part 5 of this plan.
        The holder of the claim will retain the lien on the property interest of the debtor(s) or the estate(s) until the earlier of:
        (a) payment of the underlying debt determined under nonbankruptcy law, or
        (b) payment of the amount of the secured claim, with interest at the rate set forth above, and discharge of the underlying debt under 11 U.S.C.
        § 1328, at which time the lien will terminate and be released by the creditor.




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  Part 4:            Treatment of Fees and Priority Claims

§ 4.1       General.

           Trustee's fees and all allowed priority claims will be paid in full without postpetition interest. An allowed priority claim will be paid in full regardless
            of whether it is listed in § 4.4.
§ 4.2       Trustee's fees.

           Trustee's fees are governed by statute and may change during the course of the case.

§ 4.3       Attorney's fees.

           (a) The unpaid fees, expenses, and costs owed to the attorney for the debtor(s) in connection with legal representation in this case are
            $_____________.
                 4,000.00      The allowance and payment of the fees, including the award of additional fees, expenses and costs of the attorney for the
            debtor(s) are governed by General Order 42-2020 (“Chapter 13 Attorney's Fees Order”), as it may be amended.

           (b) Upon confirmation of the plan, the unpaid amount shall be allowed as an administrative expense under 11 U.S.C. § 503(b) to the extent set
            forth in the Chapter 13 Attorney's Fees Order.

           (c) From the first disbursement after confirmation, the attorney will receive payment under the Chapter 13 Attorney's Fees Order up to the allowed
            amount set forth in § 4.3(a).

                                                                                                                100.00
            (d) The unpaid balance and any additional amounts allowed under § 4.3(c) will be payable (1) at $_____________  per month from Regular
            Payments and (2) from Tax Refunds or Additional Payments, as set forth in the Chapter 13 Attorney's Fees Order until all allowed amounts are
            paid in full.

           (e) If the case is converted to Chapter 7 before confirmation of the plan, the debtor(s) direct(s) the trustee to pay to the attorney for the debtor(s)
                                2,500.00
            the amount of $____________,     not to exceed the maximum amount that the Chapter 13 Attorney's Fees Order permits. If the attorney for the
            debtor(s) has complied with the applicable provisions of the Chapter 13 Attorney's Fees Order, the trustee will deliver, from the funds available, the
            stated amount or the maximum amount to the attorney, whichever is less.

           (f) If the case is dismissed before confirmation of the plan, fees, expenses, and costs of the attorney for the debtor(s) in the amount of
                   2,500.00
            $_____________,      not to exceed the maximum amount that the Chapter 13 Attorney's Fees Order permits, will be allowed to the extent set forth in
            the Chapter 13 Attorney's Fees Order. The attorney may file an application for fees, expenses, and costs in excess of the maximum amount within
            14 days from entry of the order of dismissal. If the attorney for the debtor(s) has complied with the applicable provisions of the Chapter 13
            Attorney's Fees Order, the trustee will deliver, from the funds available, the allowed amount to the attorney.

           (g) If the case is converted to Chapter 7 after confirmation of the plan, the debtor(s) direct(s) the trustee to deliver to the attorney for the debtor(s),
            from the funds available, any allowed fees, expenses, and costs that are unpaid.

           (h) If the case is dismissed after confirmation of the plan, the trustee will pay to the attorney for the debtor(s), from the funds available, any
            allowed fees, expenses, and costs that are unpaid.

§ 4.4       Priority claims other than attorney's fees.
            ■    None. If “None” is checked, the rest of § 4.4 need not be completed or reproduced.
                 The debtor(s) has/have domestic support obligations as set forth below. The debtor(s) is/are required to pay all postpetition domestic support
                 obligations directly to the holder of the claim.

                 Name and address of creditor:               Name and address of child support                      Estimated amount of        Monthly plan payment
    +                                                        enforcement agency entitled to § 1302(d)(1)
                                                             notice
                                                                                                                    claim



        -
                 The debtor(s) has/have priority claims other than attorney's fees and domestic support obligations as set forth below:

                 Name and address of creditor:                                                                                 Estimated amount of claim
    +
        -




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  Part 5:        Treatment of Nonpriority Unsecured Claims
§ 5.1   Nonpriority unsecured claims not separately classified.
        Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata, as set forth in § 2.6. Holders of these claims will
        receive:
        Check one.
             A pro rata portion of the funds remaining after disbursements have been made to all other creditors provided for in this plan.

        ■                                                           250.00
             A pro rata portion of the larger of (1) the sum of $___________ and (2) the funds remaining after disbursements have been made to all other
             creditors provided for in this plan.
             The larger of (1) ______% of the allowed amount of the claim and (2) a pro rata portion of the funds remaining after disbursements have been
             made to all other creditors provided for in this plan.
             100% of the total amount of these claims.

        Unless the plan provides to pay 100% of these claims, the actual amount that a holder receives will depend on (1) the amount of claims filed and
        allowed and (2) the amounts necessary to pay secured claims under Part 3 and trustee's fees, costs, and expenses of the attorney for the
        debtor(s), and other priority claims under Part 4.

§ 5.2   Maintenance of payments and cure of any default on nonpriority unsecured claims.
        Check one.
        ■    None. If “None” is checked, the rest of § 5.2 need not be completed or reproduced.

§ 5.3   Other separately classified nonpriority unsecured claims.
        Check one.
        ■    None. If “None” is checked, the rest of § 5.3 need not be completed or reproduced.

  Part 6:        Executory Contracts and Unexpired Leases

§ 6.1   The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory contracts
        and unexpired leases are rejected.

        Check one.
        ■    None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.

  Part 7:        Vesting of Property of the Estate

§ 7.1   Unless the Bankruptcy Court orders otherwise, property of the estate shall not vest in the debtor(s) on confirmation but will vest in the
        debtor(s) only upon: (1) discharge of the debtor(s); (2) dismissal of the case; or (3) closing of the case without a discharge upon the
        completion of payments by the debtor(s).

  Part 8:        Nonstandard Plan Provisions

§ 8.1   Check “None” or list Nonstandard Plan Provisions.
        ■    None. If “None” is checked, the rest of Part 8 need not be completed or reproduced.




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  Part 9:       Signatures

§ 9.1   Signatures of Debtor(s) and Attorney for Debtor(s).

        The debtor(s) must sign the initial plan and, if not represented by an attorney, any modification of the plan, below. The attorney for the debtor(s), if
        any, must sign below.


   8    /s/ Marie Seroni McConnell
        Signature of debtor 1 executed on 8/27/2021
                                                                                    8    Signature of debtor 2 executed on
                                          MM / DD / YYYY                                                                      MM / DD / YYYY

        307 Stewart Dr SW, Calhoun, GA 30701
        Address                                          City, State, ZIP code           Address                                          City, State, ZIP code



   8    /s/ Dan Saeger
        Signature of attorney for debtor(s)
                                                                                         Date:   8/27/2021
                                                                                                 MM / DD / YYYY



        Saeger & Associates, LLC                                                         706 S Thornton Ave Ste D, Dalton, GA 30720
        Firm                                                                             Address                                    City, State, ZIP code



By filing this document, the debtor(s), if not represented by an attorney, or the attorney for debtor(s) also certify(ies) that the wording and
order of the provisions in this Chapter 13 Plan are identical to those contained in the Local Form for Chapter 13 Plans that the Bankruptcy
Court for the Northern District of Georgia has prescribed, other than any nonstandard provisions included in Part 8.




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